Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 1 of 19 Page ID #:1773




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 15
                           UNITED STATES DISTRICT COURT
 16
                          CENTRAL DISTRICT OF CALIFORNIA
 17
                                       WESTERN DIVISION
 18
 19
                                                    Case No. 2:22-cv-04355-JFW-JEM
 20
       Yuga Labs, Inc.,
 21                                                 REPLY IN SUPPORT OF ANTI-
                                       Plaintiff,   SLAPP MOTION TO STRIKE AND
 22
                                                    MOTION TO DISMISS
 23          v.
 24
       Ryder Ripps, Jeremy Cahen, Does 1-10,        Hearing Date: Nov. 7, 2022, at 1:30p.m.,
 25                                                 Pursuant to Standing Order ¶ 5(a)
                                                    Judge: Hon. John F. Walter
 26
                                   Defendants.
 27
 28

      Case No. 2:22-cv-04355-JFW-JEM                       REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 2 of 19 Page ID #:1774




  1                                            TABLE OF CONTENTS
  2                                                                                                                           Page
  3   I.     INTRODUCTION ................................................................................................ 1
  4   II.    ARGUMENT........................................................................................................ 2
  5
             A.       The Entirety of the RR/BAYC Project Is Protected Speech ...................... 2
  6
             B.       Yuga’s Claims Fail the Rogers Test .......................................................... 4
  7
  8          C.       Defendants’ Conduct Is Protected as Nominative Fair Use ...................... 6

  9          D.       Yuga’s Cybersquatting Claim Also Fails The Rogers Test ....................... 8
 10          E.       Yuga’s False Advertising Claim Is Insufficiently Pleaded ........................ 8
 11          F.       Yuga’s Dropped Unjust Enrichment Claim Should Be Stricken ............... 9
 12
             G.       Yuga’s Conversion Claim Is Not Cognizable ............................................ 9
 13
             H.       Yuga’s Intentional and Negligent Interference Claims Are
 14                   Deficient ................................................................................................... 10
 15
             I.       Yuga’s Substantive Arguments in Its Objections to Defendants’
 16                   Exhibits Should Be Rejected.................................................................... 11
 17   III.   CONCLUSION .................................................................................................. 12
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
                                                                  -i-
 28
       Case No. 2:22-cv-04355-JFW-JEM                                               REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 3 of 19 Page ID #:1775




  1                                            TABLE OF AUTHORITIES
  2                                                                                                                            Page(s)
  3
      Cases
  4
  5   Applied Underwriters, Inc. v. Lichtenegger, 913 F.3d 884 (9th Cir. 2019). .............. 6, 7
  6   Battle v. Taylor James, LLC, No. 21-cv-07915-FWS-KES, 2022 WL 2162930
  7           (C.D. Cal. June 15, 2022) ..................................................................................... 3
  8
  9   Brown v. Electronic Arts, Inc., 724 F.3d 1235 (9th Cir. 2013) ...................................... 8

 10   Calista Enterprises Ltd. v. Tenza Trading Ltd., 43 F. Supp. 3d 1099 (9th Cir.
 11           2014) ..................................................................................................................... 8
 12
 13   Chanel, Inc. v. Hsio Yin Fu, No. 16-cv-02259, 2017 WL 1079544 (N.D. Cal.

 14           Mar. 22, 2017) ...................................................................................................... 4

 15   Dr. Suess Enteprises, L.P. v. ComicMix LLC, 983 F.3d 443 (9th Cir. 2020) ................ 1
 16
 17   E.S.S. Enterntainment 2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095 (9th

 18           Cir. 2008) .............................................................................................................. 8

 19   Garcia v. Allstate Ins, 1:12-cv-00609-AWI-SKO, 2012 WL 4210113 (E.D. Cal.
 20           Sep. 18, 2012) ..................................................................................................... 12
 21
 22   Givenchy S.A. v. BCBG Max Azria Group., Inc., No. 10-cv-08394, 2012 WL

 23           3072327 (C.D. Cal. Apr. 25, 2012) ...................................................................... 4

 24   Gordon v. Drape Creative, Inc, 909 F.3d 257 (9th Cir. 2018)....................................... 4
 25
 26   Gotham Inurance. Co. v. Shasta Techs., LLC, No. 13-cv-3810-PJH, 2014 WL

 27           1347766 (N.D. Cal. April 3, 2014)..................................................................... 12

 28
                                                                     -ii-
      Case No. 2:22-cv-04355-JFW-JEM                                                    REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 4 of 19 Page ID #:1776




  1   Halle Proerties, L.L.C. v. Bassett, No. 06-cv-7694-ABC-JWJ, 2007 WL
  2          2344931 (C.D. Cal. Aug. 14. 2007) ................................................................... 11
  3
      Hermes International v. Rothschild, No. 22-CV-384 (JSR), 2022 WL 1564597
  4
             (S.D.N.Y. May 18, 2022) ..................................................................................... 5
  5
  6   Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988 (9th Cir. 2018) ............................ 3
  7
      Kremen v. Cohen, 337 F.3d 1024 (9th Cir. 2003) .......................................................... 9
  8
  9   Nam v. Alpha Floors, Inc., No. 216CV6810JLSJCGX, 2017 WL 11635994
 10          (C.D. Cal. Jan. 4, 2017) ...................................................................................... 10
 11
      New Show Studios LLC v. Needle, No. 2:14-CV-01250-CAS, 2014 WL
 12
             2988271 (C.D. Cal. June 30, 2014) .................................................................... 11
 13
 14   Scottsdale Ins. Co. v. Grant & Weber, No. 2:16-cv-00610 (C.D. Cal. Feb 17,
 15          2017) (Dkt. Nos. 106, 107)................................................................................. 12
 16
      Settimo Association. v. Environ Sytem, Inc., 14 Cal. App. 4th 842 (1993) .................. 10
 17
 18   Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137 (9th Cir. 2008) .................... 10
 19
      Tatiana Sauquillo v. California Highway Patrol, No. 2:19-cv-07651 (C.D. Cal.
 20
             Sep 11, 2019) (Dkt. No. 11) ............................................................................... 12
 21
 22   Tensor Law P.C. v. Rubin, 2019 WL 3249595 (C.D. Cal. April 10, 2019) ................. 12
 23
      Tethys Bioscience, Inc. v. Mintz, No. 09–5115, 2010 WL 2287474 (N.D. Cal.
 24
             June 4, 2010)....................................................................................................... 10
 25
 26   United States v. Ritchie, 342 F.3d 903 (9th Cir. 2003) .................................................. 3
 27
 28
                                                                -iii-
      Case No. 2:22-cv-04355-JFW-JEM                                               REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 5 of 19 Page ID #:1777




  1   Vaccarino v. Midland Nat. Life Ins. Co., No. 2:11-CV-05858-CAS, 2014 WL
  2         572365 (C.D. Cal. Feb. 3, 2014) ........................................................................ 11
  3
      Word Aflame Tabernacle, Inc. v. City of La Habra Heights, No. 2:20-cv-09899
  4
            (C.D. Cal. Nov 5, 2021) (Dkt. Nos. 88, 90, 91) ................................................. 12
  5
  6
  7
  8
  9
 10
 11
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 15
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 17
 18
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 21
 22
 23
 24
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 28
                                                          -iv-
      Case No. 2:22-cv-04355-JFW-JEM                                       REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 6 of 19 Page ID #:1778




  1   I.    INTRODUCTION
  2         Trademark law cannot be used to silence free speech. The First Amendment
  3   limits a trademark holder’s right to muffle its critics, and to survive dismissal under
  4   the Rogers test, Yuga would have had to plead that Mr. Ripps’s and Mr. Cahen’s use
  5   of its alleged marks either is “not artistically relevant” or “explicitly misleads
  6   consumers.” Dr. Suess Enters., L.P. v. ComicMix LLC, 983 F.3d 443, 462 (9th Cir.
  7   2020). Yuga’s Opposition Brief confirms that it did not and cannot do either: its
  8   effort to contest the artistic relevance of its marks to the RR/BAYC project is weak,
  9   and it fails to identify even a single consumer that has ever been misled.
 10         Instead, Yuga’s Opposition Brief tries to save its futile trademark claims
 11   (Claims 1-7) by artificially separating the sale of RR/BAYC NFTs from Defendants’
 12   free speech activity associated with the RR/BAYC project. But artwork—especially
 13   performance and conceptual art—cannot be understood divorced from its context. As
 14   the allegations of the Complaint make clear, the sale of RR/BAYC NFTs was part of
 15   Defendants’ protected speech. In fact, Yuga itself alleges that Mr. Ripps described the
 16   RR/BAYC project as “satire” and encouraged collectors to purchase RR/BAYC
 17   project NFTs specifically to protest Yuga. Dkt. No. 1. ¶¶ 5, 56, 72, 116. The
 18   Complaint, through its incorporation of the https://rrbayc.com website (Dkt. No. 1 ¶¶
 19   34, 36, 48, 81), also explains that “RR/BAYC uses satire and appropriation to protest
 20   and educate people regarding The Bored Ape Yacht Club and the framework of
 21   NFTs” and that “[t]he work is an extension of and in the spirit of other artists who
 22   have worked within the field of appropriation art.” Yuga cannot escape the Rogers
 23   test by separating RR/BAYC sales from the overall RR/BAYC project—the sales
 24   were an integral part of the artistic project.
 25         Yuga’s Opposition Brief also attempts to dodge nominative fair use by claiming
 26   that the Defendants improperly used exact copies of the BAYC digital images. Dkt.
 27   No. 23 at 19. But Yuga ignores that Defendants’ commentary required reference to
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                                                   -1-
      Case No. 2:22-cv-04355-JFW-JEM                           REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 7 of 19 Page ID #:1779




  1   those exact images to express that NFTs are not themselves digital images, but rather
  2   are digital tokens that can point to digital images—a point that Mr. Ripps has
  3   emphasized in his work for years. Had the RR/BAYC project used different images, it
  4   could not have made the point that Yuga is not selling digital images when it sells
  5   BAYC NFTs (and of course, if Yuga’s concern was that Mr. Ripps and Mr. Cahen
  6   were using copies of protected images, their remedy would be in copyright law, not a
  7   trademark action.) All claims should be dismissed.
  8   II.   ARGUMENT
  9         A.     The Entirety of the RR/BAYC Project Is Protected Speech
 10         The allegations in the Complaint contradict Yuga’s argument that that the
 11   RR/BAYC project has “no expressive content or transformation” and is unprotected
 12   “commercial speech.” Dkt. No. 53 at 7, 10. Yuga can only reach this conclusion by
 13   artificially severing the sale of RR/BAYC NFTs from the public commentary by Mr.
 14   Ripps and Mr. Cahen in the RR/BAYC project. But the RR/BAYC project as a
 15   whole—which includes the sale of RR/BAYC NFTs—was created as an act of protest
 16   and criticism of Yuga, as the Complaint itself alleges. For example, the Complaint
 17   alleges that Mr. Ripps explained in a May 25th tweet “how the website rrbayc.com
 18   works” stating that you pick an ape “it will get transferred to your wallet, Then you
 19   can say fuck off to @BoredApeYC!” Dkt. No. 1 ¶ 53. This allegation shows that the
 20   sale of the RR/BAYC NFTs—the “transfer[] to your wallet”—was not a separate act
 21   distinct from the protest against Yuga but was inextricably intertwined with it.
 22         The Complaint further alleges that Mr. Ripps has described RR/BAYC as
 23   “satire,” stated that he “would like to illuminate what nfts are, and show bayc for what
 24   it really is,” and has encouraged collectors to purchase RR/BAYC NFTs to protest
 25   Yuga’s racist messages and imagery. Dkt. No. 1 ¶¶ 3, 5, 49, 56, 57, 72, 116. The
 26   Complaint also incorporates by reference https://rrbayc.com by repeatedly discussing
 27   and including hyperlinks to the webpage. See Khoja v. Orexigen Therapeutics, Inc.,
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                                                -2-
      Case No. 2:22-cv-04355-JFW-JEM                         REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 8 of 19 Page ID #:1780




  1   899 F.3d 988, 1007 (9th Cir. 2018) (affirming incorporation by reference of a
  2   document repeatedly referenced in the complaint); Battle v. Taylor James, LLC, No.
  3   21-cv-07915-FWS-KES, 2022 WL 2162930, at *6 (C.D. Cal. June 15, 2022) (holding
  4   that a hyperlink in a complaint incorporated the linked document); United States v.
  5   Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (“Even if a document is not attached to a
  6   complaint, it may be incorporated by reference into a complaint”). The webpage
  7   explains:
  8         Through the process of “re-minting”, the original BAYC images are
            recontextualized – illuminating truths about their origins and meanings as
  9
            well as the nature of Web3 – the power of NFTs to change meaning,
 10         establish provenance and evade censorship.
 11
            RR/BAYC uses satire and appropriation to protest and educate people
 12         regard The Bored Ape Yacht Club and the framework of NFTs. The work
            is an extension of and in the spirt of other artists who have worked within
 13
            the field of appropriation art.
 14
      These allegations show that the sale RR/BAYC NFTs and the public commentary of
 15
      the RR/BAYC project are inextricably linked. Specifically, The RR/BAYC project is
 16
      performance and conceptual art that uses the sale of unique NFTs to recontextualize
 17
      BAYC images in a manner that sheds light on Yuga’s racist and neo-Nazi messaging.
 18
            Yuga also attempts to drive a wedge between the RR/BAYC’s founders,
 19
      suggesting that somehow only Mr. Ripps and not Mr. Cahen engaged in protected
 20
      speech. Dkt. No. 53 at 10. But again, this contradicts the allegations of the
 21
      Complaint. Yuga has alleged that “Ripps, Cahen, and Does 1-5 … promote their
 22
      RR/BAYC NFT collection” and that “in May 2022, Ripps, Cahen, and Does 1-5
 23
      created a website that allows users ‘reserve’ RR/BAYC NFTS”—this is the same
 24
      website (https://rrbayc.com) that explains the context behind the satirical RR/BAYC
 25
      project. Dkt. No. 1 at ¶¶ 33, 34. According to the allegations of the Complaint, Mr.
 26
      Cahen undoubtedly participated in the free speech activity alongside Mr. Ripps.
 27
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                                                -3-
      Case No. 2:22-cv-04355-JFW-JEM                         REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 9 of 19 Page ID #:1781




  1         Last, Yuga argues that its silencing of First Amendment protected speech is
  2   somehow superfluous to this litigation, because Yuga is solely interested in enforcing
  3   trademark rights. Dkt. No. 53 at 11. But, as discussed in detail below, the
  4   enforcement of trademark rights stops at the door of the First Amendment—that is the
  5   point of the Rogers test and the nominative fair use doctrine. Moreover, Yuga’s
  6   argument that this lawsuit is about commercial protection flies in the face of its actual
  7   conduct: there are countless entities that profit from counterfeit BAYC or Yuga NFTs.
  8   See Dkt. No. 48-2. But Yuga has not sued any actual knock-offs. Instead, it sued
  9   only Mr. Ripps and Mr. Cahen, who have been publicly criticizing Yuga’s use of
 10   racist and neo-Nazi messages and imagery.
 11         B.     Yuga’s Claims Fail the Rogers Test
 12         Yuga’s trademark infringement claims (Claims 1-7) are fundamentally flawed
 13   because they do not and cannot allege that the underlying conduct was not artistically
 14   relevant. Dkt. No. 53 at 13. To the contrary, as explained above, the Complaint
 15   confirms that the RR/BAYC project is conceptual art aimed at criticizing Yuga’s use
 16   of racist messages and imagery. These allegations go well beyond the Rogers test’s
 17   “above zero” requirement for artistic relevance. Gordon v. Drape Creative, Inc, 909
 18   F.3d 257, 268 (9th Cir. 2018).
 19         Despite the Complaint’s repeated allegations of artistic expression, Yuga argues
 20   that the RR/BAYC project “is no more artistic than the sale of a counterfeit handbag,
 21   making the Rogers test inapplicable.” Dkt. No. 53 at 9. But the handbag cases that
 22   Yuga cites, such as Chanel, Inc. v. Hsio Yin Fu, No. 16-cv-02259, 2017 WL 1079544,
 23   at *4 (N.D. Cal. Mar. 22, 2017) and Givenchy S.A. v. BCBG Max Azria Group., Inc.,
 24   No. 10-cv-08394, 2012 WL 3072327, at *6 n.8 (C.D. Cal. Apr. 25, 2012), are
 25   inapposite. These handbag cases involve garden-variety counterfeiting operations
 26   where there was no credible claim of artistic expression. This is not such a case.
 27   Here, the Defendants include a well-known artist, and their work has triggered
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                                                 -4-
      Case No. 2:22-cv-04355-JFW-JEM                          REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 10 of 19 Page ID #:1782




  1   widespread public commentary about Yuga’s use of racist and neo-Nazi messages and
  2   imagery and the nature of an emerging technology (NFTs).
  3         The Complaint also fails to plead that the RR/BAYC project is explicitly
  4   misleading. Rather, Yuga concedes that use of a mark is not explicitly misleading
  5   when “the junior user employed the mark in different contexts and markets than the
  6   senior users.” Dkt. No. 53 at 14 (emphasis added). Context matters. As explained
  7   earlier, the Complaint alleges that Mr. Ripps and Mr. Cahen created RR/BAYC to
  8   “show bayc for what it really is” and to allow collectors to say “fuck off to
  9   @BoredApeYC!” Dkt. No. 1 ¶¶ 53, 57. The Complaint also admits that Mr. Ripps
 10   and Mr. Cahen primarily marketed and sold RR/BAYC NFTs on their Twitter pages,
 11   https://rrbayc.com, and Foundation.app—none of which are marketplaces that sell any
 12   Yuga products and (but for Foundation.app) are replete with content critical of Yuga.
 13   See, e.g., id. ¶¶ 34, 48, 53, 57. These allegations contradict a claim of explicitly
 14   misleading conduct.
 15         Yuga’s reliance on the Hermès decision (Opp at 15) is likewise unavailing
 16   because it likewise ignores the context of the RR/BAYC project. In Hermès, the
 17   defendant made statements praising the Hermès brand, typical of those made when
 18   parties are working collaboratively. Hermes Int’l v. Rothschild, No. 22-CV-384
 19   (JSR), 2022 WL 1564597, at *6 (S.D.N.Y. May 18, 2022). As a result, the Hermès
 20   complaint alleged multiple accounts of explicitly misleading use of the mark,
 21   including consumers posting that they believed there was an affiliation between
 22   Hermès and the NFT collection, and several news articles, including in Elle and the
 23   New York Post, that reported (incorrectly) the NFTs were made in partnership with
 24   Hermès. Id. at *2. Here, by contrast, the Complaint alleges that the RR/BAYC
 25   project has been heavily critical of Yuga (Dkt. No. 1 ¶¶ 3, 5, 49, 56, 57, 72), which
 26   precludes a reasonable consumer from believing that Yuga partnered with Mr. Ripps
 27   and Mr. Cahen for the RR/BAYC collection. Put more simply: who could ever
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                                                  -5-
      Case No. 2:22-cv-04355-JFW-JEM                          REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 11 of 19 Page ID #:1783




  1   believe that Yuga was sponsoring the artists making “accusations of racism” and
  2   encouraging people to “say fuck off to @BoredApeYC!”? Dkt. No. 1 ¶¶ 3, 49, 53.
  3   And of course, the Complaint also fails to allege even a single instance of actual
  4   confusion; in fact, it fails to mention actual confusion entirely.
  5         Finally, Yuga concedes that that collectors of RR/BAYC NFTs would sign a
  6   disclaimer that explained that RR/BAYC NFTs have no association with Yuga. Dkt.
  7   No. 53 at 16. This is an admission by Yuga that Defendants acted in good faith and
  8   explained to the public the context of RR/BAYC NFTs, how they criticize Yuga, and
  9   that they point to the same digital images as BAYC NFTs to educate the public about
 10   the framework of NFTs (that NFTs are not digital images). Yuga tries to fix this hole
 11   in its Complaint by stating for the first time in their Opposition Brief that the
 12   RR/BAYC NFTs “explicitly misled other consumers through both initial interest and
 13   post-sale confusion.” Dkt. No. 53 at 7. But the Complaint makes no such allegation.
 14         C.     Defendants’ Conduct Is Protected as Nominative Fair Use
 15         Yuga argues that it is improper to address nominative fair use at the pleadings
 16   stage. Yuga is wrong. It is well-established that trademark claims can be dismissed
 17   pursuant to Rule 12(b)(6) under nominative fair use. Applied Underwriters, Inc. v.
 18   Lichtenegger, 913 F.3d 884, 897 (9th Cir. 2019) (affirming dismissal of complaint due
 19   to nominative fair use). The Ninth Circuit held in Applied Underwriters that dismissal
 20   under nominative fair use was appropriate when (1) defendants were critical of
 21   plaintiff’s products, (2) defendants used a disclaimer, and (3) defendants used
 22   plaintiff’s mark in a manner that identified the defendants. Id.
 23         The allegations in this case plainly meet all three elements of the Applied
 24   Underwriters test. With respect to the first factor (criticism), the Complaint itself
 25   confirms that RR/BAYC is critical of Yuga by alleging that it is “satire,” meant to
 26   “show bayc for what it really is,” that Mr. Ripps has made “accusations of racism,”
 27   and that the project allows collectors to say, “fuck off to @BoredApeYC!” Dkt. No. 1
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                                                  -6-
      Case No. 2:22-cv-04355-JFW-JEM                           REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 12 of 19 Page ID #:1784




  1   ¶¶ 5, 49, 53, 57. As to the second factor (disclaimer), the incorporated website
  2   https://rrbayc.com explains that RR/BAYC is not a Yuga affiliated project, and Yuga
  3   admits that collectors were required to acknowledge a disclaimer before purchasing
  4   RR/BAYC NFTs on https://rrbayc.com. And for the third factor (identification), the
  5   Complaint alleges that that the RR/BAYC project was carried out in a manner that
  6   identified Defendants, such as on their personal Twitter and Instagram accounts, and
  7   the website https://rrbayc.com. Dkt. No. 1 ¶¶ 5, 49, 57. Even the token tracker that
  8   the Complaint incorporates by discussing and hyperlinking (https://etherscan.io/addre
  9   ss/0x2ee6af0dff3a1ce3f7e3414c52c48fd50d73691e) identifies “*ryder-ripps.eth” as
 10   the creator. Compl. ¶ 39; Dkt. No. 48 at 16. And of course, the “RR” in the name of
 11   the project are Mr. Ripps’ own initials.
 12         Nor is Defendants’ use of Yuga’s exact marks1 an issue. As alleged in the
 13   Complaint, the RR/BAYC project uses satire to criticize Yuga. That criticism cannot
 14   exist without referencing the BAYC collection by name, and the Ninth Circuit has
 15   recognized that nominative fair use protects this kind of referential use of trademarks
 16   so that defendants can identify specific brands or products without using descriptive
 17   phrases. Applied Underwriters, 913 F.3d at 894.
 18         Further, the RR/BAYC project necessarily requires using pointers to digital
 19   images that include the entirety of Yuga’s Nazi-derived logo. As explained on
 20   https://rrbayc.com, one of the purposes of RR/BAYC was to “educate[] people
 21   regarding . . . the framework of NFTs.” The RR/BAYC project shows that NFTs offer
 22   no exclusivity with associated digital resources by using verifiably unique NFTs to
 23   point to the same (publicly available) digital images as the BAYC NFTs. Had
 24   Defendants altered the digital images (and the marks contained therein) in any way,
 25   the RR/BAYC project would no longer expose that Yuga is not selling digital images
 26
 27   1
        Notably, since filing its Complaint, Yuga has abandoned its application for federal
 28   registration of the asserted mark APE. (Dkt. No. 1 ¶ 27).
                                                -7-
      Case No. 2:22-cv-04355-JFW-JEM                         REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 13 of 19 Page ID #:1785




  1   when it sells BAYC NFTs. In a similar vein, pointers to the BAYC digital images,
  2   and the Yuga marks contained therein, were necessarily used to identify the BAYC
  3   collection as the subject of this critique and to recontextualize “the original BAYC
  4   images … illuminating truths about their origins and meanings.” Dkt. No. 48-4
  5   (excerpt from https://rrbayc.com webpage).
  6         D.     Yuga’s Cybersquatting Claim Also Fails The Rogers Test
  7         Contrary to Yuga’s position, the Court can and should apply the Rogers test to
  8   the cybersquatting claim at issue here. The Ninth Circuit has held that the Rogers test
  9   “requires courts to construe the Lanham Act to apply to artistic works only where the
 10   public interest in avoiding consumer confusion outweighs the public interest in free
 11   expression.” E.S.S. Ent. 2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1099
 12   (9th Cir. 2008) (internal quotation omitted). Thus, the root of the test is a balancing of
 13   First Amendment protections against “the public’s right to be free from consumer
 14   confusion….” Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1242 (9th Cir. 2013). The
 15   Rogers test, therefore, applies to any trademark-related claims that involve consumer
 16   confusion, and cybersquatting is undisputedly one of those claims. See Calista
 17   Enters. Ltd. v. Tenza Trading Ltd., 43 F. Supp. 3d 1099, 1031 (9th Cir. 2014)
 18   (holding that cybersquatting claims require likelihood of confusion).
 19         E.     Yuga’s False Advertising Claim Is Insufficiently Pleaded
 20         Yuga fails to allege any misleading representations of fact to support its false
 21   advertising claim. Instead, Yuga’s Opposition Brief offers the conclusory assertion
 22   that Defendants “advertised their copycat ‘Ryder Ripps Bored Ape Yacht Club’ as
 23   equivalent to the Bored Ape Yacht Club” without providing any statements or
 24   supporting allegations. Dkt. No. 53 at 21. And without presenting any statements
 25   where Defendants equated Defendants’ artwork to Bored Ape Yacht Club, Yuga
 26   further argues that these “false equivalences” could deceive reasonable consumers.
 27   Dkt. No. 53 at 21.
 28
                                                 -8-
      Case No. 2:22-cv-04355-JFW-JEM                          REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 14 of 19 Page ID #:1786




  1         Yuga’s Opposition Brief conveniently ignores instances where Defendants
  2   expressly distinguished between RR/BAYC and Bored Ape Yacht Club. The
  3   Complaint alleges that Mr. Ripps set up a website for his RR/BAYC NFT collection
  4   (https://rrbayc.com) and, on its main page, informed potential consumers that the
  5   RR/BAYC project is satirical and uses appropriation to criticize Yuga and shed light
  6   on nature of NFTs. Dkt. No. 1 ¶¶ 34, 48. The Complaint further alleges that Mr.
  7   Ripps explained in a May 25th tweet that collectors can purchase RR/BAYC NFTs on
  8   his website to protest Yuga’s use of racist and neo-Nazi messaging. Dkt. No. 1 ¶ 53.
  9   Yuga also admits that the website required consumers to acknowledge a disclaimer
 10   explaining that RR/BAYC NFTs are not associated with Yuga. Dkt. No. 53 at 16.
 11   Thus, according to the allegations in the Complaint, Mr. Ripps and Mr. Cahen’s
 12   representations regarding the nature of the RR/BAYC artwork were not misleading.
 13         F.     Yuga’s Dropped Unjust Enrichment Claim Should Be Stricken
 14         Because Yuga has stated in its Opposition Brief that it has withdrawn its unjust
 15   enrichment claim (but has not actually amended its Complaint), Defendants’ motion to
 16   strike it on anti-SLAPP grounds is unopposed and should be granted.
 17         G.     Yuga’s Conversion Claim Is Not Cognizable
 18         Yuga admits that its conversion claim rests on the premise that Defendants have
 19   misappropriated Yuga’s trademarks. But as outlined in Defendants’ initial brief and
 20   herein, Yuga has failed to plead an actionable claim of trademark infringement and,
 21   therefore, failed to establish a wrongful disposition of property necessary for
 22   conversion. Kremen v. Cohen, 337 F.3d 1024, 1029 (9th Cir. 2003) (to state a claim
 23   for conversion you must allege “right to possession of property, wrongful disposition
 24   of the property right and damages.”) (internal citation and quotation omitted).
 25         But even if Yuga had pleaded an actionable trademark infringement claim, its
 26   conversion claim should still be dismissed. Although courts have “split on whether
 27   [conversion] is a cognizable claim” in the trademark context (Nam v. Alpha Floors,
 28
                                                 -9-
      Case No. 2:22-cv-04355-JFW-JEM                         REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 15 of 19 Page ID #:1787




  1   Inc., No. 216CV6810JLSJCGX, 2017 WL 11635994, at *8 (C.D. Cal. Jan. 4, 2017)),
  2   the Court here should follow those cases that have found that the application of
  3   conversion to intangible property “should not be expanded to displace other, more
  4   suitable law.” Tethys Bioscience, Inc. v. Mintz, No. 09–5115, 2010 WL 2287474, at
  5   *7 (N.D. Cal. June 4, 2010) (internal citation and quotation omitted). Accordingly,
  6   Yuga’s should not be able to use conversion to supplant its trademark-related claims,
  7   which better address the nature of trademarks, the interests at stake, and the
  8   appropriate determination of remedies.
  9         H.     Yuga’s Intentional and Negligent Interference Claims Are Deficient
 10         Yuga’s Opposition provides no additional factual information regarding its
 11   intentional interference and negligent interference claims. Yuga largely rests on the
 12   arguments they already made in their Complaint and, thus, fails to plausibly allege
 13   intentional interference or negligent interference. Specifically, Yuga attempts to use
 14   their trademark infringement claims (Claims 1-7) to meet many of the elements of
 15   their interference claims (such as independent wrongful acts). Dkt. No. 53 at 22-23.
 16   But this attempt fails because, as stated above, Yuga has not plausibly alleged its
 17   trademark-related claims.
 18         Yuga also ignores Defendants’ argument that it is insufficient to plead a
 19   “market theory” of liability by suggesting that Defendants generally disrupted Yuga’s
 20   relationship with the entire market of BAYC customers. Dkt. No. 48 at 24 (citing
 21   Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1151 (9th Cir. 2008)).
 22   Instead, Yuga simply concludes, without citing any allegations, that their Complaint
 23   “sufficiently alleges a business relationship with Bored Ape holders.” Dkt. No. 53 at
 24   22. Yuga then cites to Settimo Assocs. v. Environ Sys., Inc., 14 Cal. App. 4th 842, 846
 25   (1993) to argue that “California law does not prohibit alleging loss of customers for
 26   intentional interference claims.” Dkt. No. 53 at 22. But Settimo Associates dealt with
 27   a competitive bidding process among sub-contractors and is completely silent on
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      Case No. 2:22-cv-04355-JFW-JEM                          REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 16 of 19 Page ID #:1788




  1   whether interference claims apply to the general market of costumers. Settimo
  2   Assocs., 14 Cal. App. 4th at 845. Further, Yuga has yet to allege more than
  3   conclusory statements about their loss of customers. See Dkt. No. 1 ¶¶ 145, 157.
  4         I.     Yuga’s Substantive Arguments in Its Objections to Defendants’
                   Exhibits Should Be Rejected
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            Yuga’s objections should be ignored (if not stricken outright) for violating the
  6
      Local Rules and this Court’s Standing Order, which make clear that “oppositions to
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      motions shall not exceed 25 pages.” Dkt. No. 14 at ¶ 5(c); L.R. 11-6. Courts in this
  8
      district recognize that litigants may not circumvent these page limits by making
  9
      multiple filings. Vaccarino v. Midland Nat. Life Ins. Co., No. 2:11-CV-05858-CAS,
 10
      2014 WL 572365, at *4 (C.D. Cal. Feb. 3, 2014); New Show Studios LLC v. Needle,
 11
      No. 2:14-CV-01250-CAS, 2014 WL 2988271, at *1 (C.D. Cal. June 30, 2014). Here,
 12
      in addition to Yuga’s 25-page Opposition Brief, Yuga has filed a 51-page objection
 13
      that packages substantive arguments that should have been in the Opposition Brief.
 14
      For example, the objection raises arguments about (1) the veracity of Defendants’
 15
      accusations of racism, (2) the relevance of Defendants’ critical commentary to the
 16
      RR/BAYC project, (3) whether the RR/BAYC project is artistic expression,
 17
      (4) whether the court should take judicial notice of public documents, and (5) which
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      documents have been incorporated by reference in the Complaint. See, e.g., Dkt. No.
 19
      54 at 1-3, 8-9, 13, 14, 15, 17. At a minimum, Yuga should have sought leave of Court
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      before filing such extensive additional briefing.
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            In any event, there was nothing improper about Defendants’ use of exhibits in
 22
      their motion. Defendants request relief from this Court based solely on the allegations
 23
      in the Complaint and documents the Complaint incorporated by reference, such as
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      https://rrbayc.com, https://etherscan.io/address/0x2ee6af0dff3a1ce3f7e3414c52c48fd5
 25
      0d73691e, and https://apemarket.com/. See Dkt. No. 1 ¶¶ 34, 36, 39, 46, 48, 81; see
 26
      also Halle Props., L.L.C. v. Bassett, No. 06-cv-7694-ABC-JWJ, 2007 WL 2344931, at
 27
      *6 (C.D. Cal. Aug. 14. 2007) (“a court may consider documents which are not
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      Case No. 2:22-cv-04355-JFW-JEM                        REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 17 of 19 Page ID #:1789




  1   physically attached to the complaint but ‘whose contents are alleged in [the] complaint
  2   and whose authenticity no party questions.’”); Gotham Ins. Co. v. Shasta Techs., LLC,
  3   No. 13-cv-3810-PJH, 2014 WL 1347766, at *3 (N.D. Cal. April 3, 2014) (“[T]he
  4   court may consider … documents referenced extensively in the complaint and
  5   documents that form the basis of the plaintiff’s claims.”).
  6          Defendants attached additional exhibits to their motion only as background
  7   information and context to the First Amendment-protected activity in this case, as is
  8   typical for anti-SLAPP motions at the pleadings stage.2 See, e.g., Tensor Law P.C. v.
  9   Rubin, 2019 WL 3249595, at *4 (C.D. Cal. April 10, 2019) (“Although the Court
 10   provided an overview of Defendant’s account of the facts in this Order, the Court need
 11   not refer to any of the evidence submitted by Defendant in deciding whether Plaintiff
 12   has set forth a legally sufficient claim against Defendant.”); Garcia v. Allstate Ins,
 13   1:12-cv-00609-AWI-SKO, 2012 WL 4210113, at *14 (E.D. Cal. Sep. 18, 2012)
 14   (granting anti-SLAPP motion at the pleadings stage “[b]ased on consideration of the
 15   declarations, pleadings, and exhibits to the present motion.”).
 16   III.   CONCLUSION
 17          For the reasons set forth above, Yuga’s objections (Dkt. No. 54) should be
 18   stricken under the Local Rules and Standing Order, Yuga’s state law claims (Claims
 19   4-11) should be stricken under the California anti-SLAPP statute, and Yuga’s federal
 20   law claims (Claims 1-3) should be dismissed pursuant to Federal Rule 12(b)(6).
 21
 22
      2
 23    It is routine practice to use exhibits in an anti-SLAPP motion at the pleadings stage
      when those exhibits solely serve as background information for the accused First
 24
      Amendment activity and not as grounds for relief. See e.g., Tatiana Sauquillo v.
 25   California Highway Patrol, No. 2:19-cv-07651 (C.D. Cal. Sep 11, 2019) (Dkt. No.
      11); Word Aflame Tabernacle, Inc. v. City of La Habra Heights, No. 2:20-cv-09899
 26
      (C.D. Cal. Nov 5, 2021) (Dkt. Nos. 88, 90, 91); Scottsdale Ins. Co. v. Grant & Weber,
 27   No. 2:16-cv-00610 (C.D. Cal. Feb 17, 2017) (Dkt. Nos. 106, 107).
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      Case No. 2:22-cv-04355-JFW-JEM                          REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 18 of 19 Page ID #:1790




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      Case No. 2:22-cv-04355-JFW-JEM                   REPLY ISO MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 58 Filed 10/24/22 Page 19 of 19 Page ID #:1791




  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that a copy of the foregoing document was served on all attorneys
  3   of record via the Court’s ECF system on October 24, 2022.
  4
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      Case No. 2:22-cv-04355-JFW-JEM                        REPLY ISO MOTION TO STRIKE
